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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                        CASE NO. 1:04-CR-165
v.
                                                        HON. ROBERT HOLMES BELL
DONALD MAYNARD BUFFIN, JR.,

              Defendant.
                                       /


                              ORDER REVOKING BOND

        On May 12, 2005, defendant appeared before the Court pursuant to an arrest

warrant issued following the filing of the government’s Motion for Revocation of Bond.

Following a review of pleadings filed by the defendant and testimony by the defendant

and defendant’s supervising pretrial officer, the Court found that there was no condition

or combination of conditions that would reasonably assure the appearance of the

defendant at trial on May 16, 2005.

        Accordingly, pursuant to 18 U.S.C. §3142(e), the defendant’s bond is hereby

REVOKED.




Date:    May 13, 2005                       /s/ Robert Holmes Bell
                                           ROBERT HOLMES BELL
                                           CHIEF UNITED STATES DISTRICT JUDGE
